   Case 3:09-cr-03393-BTM                            Document 308                  Filed 03/01/11                PageID.1189                     Page 1 of 4
   ..

     'A0243B       (Rev. 9/00) Judgment in a Criminal Case
                   Sheet J
                                                                                                                                  " MAR - t PH 21 eo
                                             UNITED STATES DISTRICT COURT                                                                    r  [)IS TRlel cou~T
                                                                                                                               C\.• EiU'•. U"~'JRICT
                                                                                                                              'j(Jilllti!~..H 0.,.·
                                                                                                                                                  .
                                                                                                                                                      Of OA.l!FC;U~i"
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMIN+.b CASE                                            ~
                                        v.                                         (For Offenses Committed On or After November I. 1987)

                           YUKON BRANCH [I]                                        Case Number: 09CR3393-BTM
                                                                                    DONALD L. LEVINE
                                                                                    Defendant's Attomey
    REGISTRATION NO. 17241298
    D
    THE DEFENDANT:
    IBl pleaded guilty to count(s) 1.2 and 3 OF THE SUPERSEDING INFORMATION
    D was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                                Count
    Title & Section                      Nature orOrrense                                                                                      Number(s)
21 USC 843(b)                         ULAWFUL USE OF A COMMUNICATION FACILITY                                                                         Is
21 USC 843(b)                         ULAWFUL USE OF A COMMUNICATION FACILITY                                                                         2s
21 USC 843(b)                         ULAWFUL USE OF A COMMUNICATION FACILITY                                                                         38




        The defendant is sentenced as provided in pages 2 through _ _4-,--_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.             .
 D    The defendant has been found not gUilty on count(s)
 D Count(s)                                            -------------------------------------------
                                                                                 is 0 are 0 dismissed on the motion of the United States.
 !8J Assessment:S300.oo (5100.00 x 3 for each count) to be paid at the rate of S25.OO per quarter through the Inmate Financial Responsibility
        Program.


  181 Fine waived                                   D      Forfeiture pursuant to order filed                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United Stales attorney of any m81eriel change in the defendant'S economic circumstances.
                                                                               FEBRUARY 25, 2011




                                                                                                                                                  09CR3393·BTM
Case 3:09-cr-03393-BTM                              Document 308         Filed 03/01/11      PageID.1190             Page 2 of 4



AO 2458     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2 - Imprisonment


DEFENDANT: YUKON BRANCH [11
CASE NUMBER: 09CR3393.BTM
                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          FORTY·EIGHT (48) MONTHS AS TO COUNT J; TWENTY·TWO (22) MONTHS AS TO COUNT 2 (Consecutive to
          eoonl 1); FORTY-B1GHT (48) MONniS AS TO COUNT 3 (Con<""'", 10            ""on"    )1001 2) FOR A roTA~~ ~_
          SEVENTY (70) MONTHS.                                                            ~              =7~ =-­

   o Sentence imposed pursuant to Title 8 USC Section I326(b).                          iARRY'itf   MOSKOWTTZ
   181 The court makes the following recommendations to the Bureau of Prisons:            UNITED STATES DISTRICT JUDGE
          STRONGLY recommends the defendant participate in the 500 Hour Drug Program. That the defendant serve his sentence in
          the Western Region.



    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                      Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _______________________________________________
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
 I have executed this judgment as follows:
                                        ___________________________ to
          Defendant delivered on

 at ______________ • with a certified copy ofthisjudgment.


                                                                                          UNITED STATBS MARSHAL

                                                                      By ________~~~~~~~~~~--------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                  09CR3393·BTM
 Case 3:09-cr-03393-BTM                            Document 308            Filed 03/01/11              PageID.1191              Page 3 of 4



AO 24SD       (ReY. 3/10) Judgment in a Criminal Ca. for Reyocation.
              Sheet 3 - Supcmsed Release
                                                                                                         Judgment-Page ---l- of _ _4'--__
DEFENDANT: YUKON BRANCH [IJ                                                                      D
CASE NUMBER: 09CRJ393.BTM
                                                            SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a term of:
ONE (I) YEAR AS TO EACH COUNT (1.3) Concurrently.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release trom
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3. J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days ofreleaae from Imyrisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements win not exceed submission 0 more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ­
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check. if applicable.)

1&1 The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon.
    The defendant shall cooperate in the collection of DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
                                                           II
181 Backing Elimination Act of 2000, pursuant to 1& USC sections 3563(a)(7) and 3S83(d).
o       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)

o       The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
          If this judgment imposes a fine or restitution obligation. it is a condition of supervised release that the defendant pay any such fmc
or restitution that remains unpaid at the commencement olthe term ofsupervised release in accordance with the Schedule of Payments sct
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                         STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permiSSion of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fITst five days of
         each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation offICer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  S)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive usc of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11 )     the defendant shall notify the probation officer within seventy-two hours of being arrested Or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shaH notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                09CRJ393·BTM
              Case 3:09-cr-03393-BTM                           Document 308        Filed 03/01/11             PageID.1192             Page 4 of 4
....    .'    .
                AO 24SB    (ReY. 9/00) Judgment in a Crimin.1 Case
                           Sheel 4 Special Conditions
                                                                                                               Judgment-Paso   --L- of _ _4;:..._ _
                DEFENDANT: YUKON BRANCH [I]                                                               a
                CASE NUMBER: 09CR3393-BTM




                                                       SPECIAL CONDITIONS OF SUPERVISION
       18I Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
             reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
             search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
             this condition.

       o
       o Not transport, harbor, or assist undocumented aliens.
       o Not associate with undocumented aliens or alien smugglers.
       o Not reenter the United States illegally.
       18I Not enter the Republic of Mexico without written permission of the Court or probation officer.
       18I Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
       18I Not possess any narcotic drug or controlled substance without a lawful medical prescription.
       18I Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
       18I Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
             report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
             consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.

       o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
         officer, if directed.
       o Provide complete disclosure of personal and business financial records to the probation officer as requested.
       o probation
         Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
                     officer.
       18I Seek and maintain full time employment andior schooling or a combination ofboth.
       181 Abstain from all use of Alcohol.
       o Complete hours of community service in a program approved by the probation officer within
       o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
       181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
             counseling sessions per month as directed by the probation officer.
       o Slates
         If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
                illegally and report to the probation officer within n hours of any reentry to the United States; the other conditions of supervision are
             suspended while the defendant is out of the United Slates after deportation. exclusion, or voluntary departure.




                                                                                                                                          09CR3393-BTM
